Case 1:25-bk-10270       Doc 55     Filed 06/27/25 Entered 06/27/25 15:32:25              Desc Main
                                    Document     Page 1 of 5



                     IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF RHODE ISLAND

_________________________________________
                                          )
IN RE:                                    )                   BK. NO: 25-10270
                                          )
       TALLULAH’S TAQUERIA, LLC,          )                   Chapter 11 (Subchapter V)
                                          )
            Debtor.                       )
_________________________________________ )


                        MOTION OF UNITED STATES TRUSTEE
                      TO DISMISS OR CONVERT CHAPTER 11 CASE

       The United States Trustee (the “UST”), pursuant to 28 U.S.C. § 586(a) and 11 U.S.C. §
1112, respectfully requests that this Court enter an order dismissing the above-referenced case or
converting this case to chapter 7. In support thereof, the UST represents as follows:
                           INTRODUCTION AND BACKGROUND
       1.      The Debtor has not complied with some basic obligations of a debtor-in-possession

such that cause exists for the dismissal or conversion of this case, including failing to file monthly

operating reports and to provide the bank statements that are requested to be produced to the UST,

failing to close its pre-petition bank accounts, and continuing to pay expenses out of the pre-

petition account.

       2.      On April 7, 2025, Tallulah’s Taqueria, LLC (the "Debtor”) filed a voluntary

petition under Chapter 11 of the Bankruptcy Code and has since acted as a debtor-in-possession

pursuant to 11 U.S.C. §§ 1107 and 1108.

       3.       Pursuant to 11 U.S.C. §§ 704(8), 1106(a)(1) and 1107(a), and Federal Rule

of Bankruptcy Procedure 2015, Chapter 11 debtors-in-possession are required to file operating

reports each month with the Court and serve a copy on the U.S. Trustee (the “Monthly Operating

Reports”).
Case 1:25-bk-10270       Doc 55    Filed 06/27/25 Entered 06/27/25 15:32:25            Desc Main
                                   Document     Page 2 of 5



       4.       Despite these requirements, Debtor has failed to file any Monthly Operating Reports

since the commencement of this case in April 2025. Two Monthly Operating Reports are now past

due.

       5.       Moreover, because the Debtor is obligated to provide to the UST bank statements

along with these statutory operating reports, the UST also has not received any bank statements

from the debtor-in-possession account since the commencement of this case.

       6.       Upon the filing of the case, the UST sent the Debtor an email with various

information regarding its obligations as a debtor-in-possession, including the obligation to close

its pre-petition bank accounts and open a debtor-in-possession account at an approved depository.

Debtor was also advised that all moneys paid by or on behalf of the Debtor must flow through the

DIP Account.

       7.       Upon good faith information and belief, although the Debtor has opened a debtor-

in-possession account, the Debtor has not closed its prepetition account at Navigant Credit Union

(the “Navigant Account”) and has continued to use the Navigant Account for various post-petition

transactions.

       8.       The UST is charged with various oversight responsibilities in Chapter 11 cases,

including without limitation ensuring that required reports and schedules are provided and filed.

       9.       The Debtor’s failure to close its prepetition Navigant Account, continued use of

that account, and failure to have all income and expenses flow through the debtor-in-possession

account prevents the UST from fulfilling his responsibilities, and prevents parties in interest and

the UST from assessing the Debtor’s progress towards reorganization.




                                                 2
Case 1:25-bk-10270        Doc 55    Filed 06/27/25 Entered 06/27/25 15:32:25                Desc Main
                                    Document     Page 3 of 5




                                        Cause for Dismissal

       10.     Pursuant to 11 U.S.C. § 1112(b), on the request of a party in interest, and after

notice and a hearing, except as otherwise provided, the court shall convert a case under this chapter

to a case under chapter 7 or dismiss a case under this chapter, whichever is in the best interests of

creditors and the estate, for cause unless the court determines that the appointment under section

1104(a) of a trustee or an examiner is in the best interests of creditors and the estate.

       11.     Pursuant to 11 U.S.C. § 1112(b)(4), “cause” includes:

                       (F) unexcused failure to satisfy timely any filing or reporting requirement
                       established by this title or by any rule applicable to a case under this
                       chapter;

                                          *       *       *

                       (H) failure to timely to provide information or attend meetings reasonably
                       requested by the United States trustee (or the bankruptcy administrator, if
                       any).


       12.     The list of factors set forth in section 1112(b) is not exclusive, and courts can find

cause from other circumstances of the case. See In re Kerr, 908 F.2d 400, 404 (8th Cir. 1990);

Matter of Nugelt, Inc., 142 B.R. 661, 668 (Bankr. Del. 1992).

       13.     A debtor-in-possession is a fiduciary to the estate and its creditors. Commodity

Futures Trading Comm’n v. Weintraub, 471 U.S. 343, 355 (1985). Failure to comply with these

fiduciary obligations may be cause for dismissing a chapter 11 case. See Nugelt,at 666; In re Wells,

71 B.R. 554, 557 (Bankr. N.D. Ohio 1987).




                                                  3
Case 1:25-bk-10270        Doc 55    Filed 06/27/25 Entered 06/27/25 15:32:25               Desc Main
                                    Document     Page 4 of 5



          14.   The Debtor has failed to file Monthly Operating Reports since the commencement

of this case in April 2025, and has failed to provide the bank statements reasonably requested by

the UST for its debtor-in-possession account. See 11 U.S.C. § 1112(b)(F).

          15.   The Debtor has also failed to close its prepetition account and has continued the use

of a prepetition account and, therefore, is not complying with the UST requirements regarding

banking and reporting. See 11 U.S.C. § 1112(b)(H).

          16.   For all these reasons, cause exists to dismiss this case pursuant to 11 U.S.C. §

1112(b).

          17.   The UST believes based upon these circumstances that dismissal is in the best

interests of creditors and the estate because there is no equity in the business assets.

          18.   Pursuant to 11 U.S.C. § 1112(b)(1), the Court may convert this case to chapter 7

rather than dismiss it if the Court finds that conversion is in the best interests of creditors and the

estate.

          WHEREFORE, the United States Trustee respectfully requests that this Court enter an

order dismissing this case for cause and granting such other and further relief as is just and

equitable.

                                               Respectfully submitted,

                                               WILLIAM K. HARRINGTON
                                               United States Trustee for Region One

                                         By:   /s/ Sandra Nicholls
                                               Sandra Nicholls
                                               Acting Assistant U.S. Trustee
                                               U.S. Department of Justice




                                                  4
Case 1:25-bk-10270       Doc 55    Filed 06/27/25 Entered 06/27/25 15:32:25              Desc Main
                                   Document     Page 5 of 5



                                              Office of the U.S. Trustee
                                              U.S. Courthouse
                                              One Exchange Terrace, Suite 431
                                              Providence, RI 02903
                                              Direct: (401) 528-5553
                                              Sandra.Nicholls@usdoj.gov
Dated: June 27, 2025

Within fourteen (14) days after service, if served electronically, as evidenced by the certification,
and an additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if served by mail or other
excepted means specified, any party against whom such paper has been served, or any other
party who objects to the relief sought, shall serve and file an objection or other appropriate
response to said paper with the Bankruptcy Court Clerk's Office, 380 Westminster Street, 6th
Floor, Providence, RI 02903, (401) 626-3100. If no objection or other response is timely filed,
the paper will be deemed unopposed and will be granted unless: (1) the requested relief is
forbidden by law; (2) the requested relief is against public policy; or (3) in the opinion of the
Court, the interest of justice requires otherwise.


                                     Certification of Service

        I hereby certify that on June 27, 2025, I electronically filed the Motion to Dismiss OPR
Convert Case in the above captioned matter with the Clerk of the Bankruptcy Court for the District
of Rhode Island using the CM/ECF System. The following participant(s) are scheduled to receive
notice electronically:

   •   Daniel E. Burgoyne dburgoyne@psh.com, kfrancois@psh.com
   •   Joseph M. DiOrio jdiorio@pldolaw.com,
       jdiorio@pldolaw.com;aperry@pldolaw.com;RI02@ecfcbis.com;aperry@pldola
       w.com;pmacnie@pldolaw.com;kstamp@pldolaw.com;agruttadauria@pldolaw.
       com;mbond@pldolaw.com
   •   Matthew J. McGowan Mmcgowan@sklawri.com, kgerman@sklawri.com
   •   Thomas P. Quinn tquinn@mclaughlinquinn.com,
       mwoodside@mclaughlinquinn.com

   A copy of the Motion to Dismiss Case was also mailed by first class mail, postage prepaid to
   the following person(s):

           See Attached Mailing Matrix

                                                      /s/ Sandra Nicholls
                                                      Sandra Nicholls



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